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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                                 CASE NO. 24-33095-H4

Moise Arrah

                                                       CHAPTER 13
DEBTOR

            NOTICE OF SCHEDULE OF HOME MORTGAGE PAYMENTS

    UNLESS AN OBJECTION IS FILED IN WRITING WITH THE CLERK OF THE
    COURT WITHIN 21 DAYS OF THE DATE ON WHICH THIS DOCUMENT WAS
    FILED AND SERVED, THE NOTICE OF SCHEDULE HOME MORTGAGE
    PAYMENTS WILL BE FINAL AND BINDING ON ALL PARTIES WITHOUT A
    HEARING AND WITHOUT FURTHER NOTICE.

      Notice is hereby given that the following is a schedule of payments made to the mortgage
company indicated below during the period beginning December 2023 and ending November
2024.
    Date     Check #                Mortgage Company                               Amount
11/01/2024 0895427            WILMINGTON SAVINGS FUND SOCIETY, FSB $12,175.68

                                                 RESPECTFULLY SUBMITTED,


                                                 /s/David G. Peake
                                                 David G. Peake, Trustee
                                                 Admissions ID No. 15679500
                                                 9660 Hillcroft, Ste 430
                                                 Houston, TX 77096
                                                 (713)283-5400 Telephone
                                                 (713)852-9084 Facsimile
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                                CERTIFICATE OF SERVICE

         The undersigned does hereby certify that a true and correct copy of the foregoing was sent
to all parties as listed below on December 10, 2024, either electronically or via BNC or U.S. First
Class Mail.

Moise Arrah                                         JAMES T FERGUSON
19218 West Austin Bayou Ct.                         1 RIVERWAY
Cypress, TX 77433                                   SUITE 1700
                                                    HOUSTON, TX 77056


                                                    WILMINGTON SAVINGS FUND
                                                    SOCIETY, FSB
                                                    NEWREZ LLC D/B/A
                                                    SHELLPOINT MORTGAGE SERVICING
                                                    PO BOX 10826
                                                    GREENVILLE, SC 29603


                                                    /s/David G. Peake
                                                    David G. Peake, Trustee
